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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

                                            :
 UNITED STATES OF AMERICA                   :      Case No: 21-cr-457 (CRC)
                                            :
         v.                                 :
                                            :      40 U.S.C. § 5104(e)(2)(G)
 ANTHONY SCIRICA,                           :
                                            :
         Defendant.                         :
                                            :

                                 STATEMENT OF OFFENSE

       Pursuant to Federal Rule of Criminal Procedure 11, the United States of America, by and

through its attorney, the United States Attorney for the District of Columbia, and the defendant,

Anthony SCIRICA, with the concurrence of his attorney, agree and stipulate to the below factual

basis for the defendant’s guilty plea—that is, if this case were to proceed to trial, the parties

stipulate that the United States could prove the below facts beyond a reasonable doubt:

                         The Attack at the U.S. Capitol on January 6, 2021

       1.        The U.S. Capitol, which is located at First Street, SE, in Washington, D.C., is

secured 24 hours a day by U.S. Capitol Police. Restrictions around the U.S. Capitol include

permanent and temporary security barriers and posts manned by U.S. Capitol Police. Only

authorized people with appropriate identification are allowed access inside the U.S. Capitol.

       2.        On January 6, 2021, the exterior plaza of the U.S. Capitol was closed to members

of the public.

       3.        On January 6, 2021, a joint session of the United States Congress convened at the

United States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint

session, elected members of the United States House of Representatives and the United States

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Senate were meeting in separate chambers of the United States Capitol to certify the vote count

of the Electoral College of the 2020 Presidential Election, which had taken place on November

3, 2020. The joint session began at approximately 1:00 p.m. Shortly thereafter, by

approximately 1:30 p.m., the House and Senate adjourned to separate chambers to resolve a

particular objection. Vice President Mike Pence was present and presiding, first in the joint

session, and then in the Senate chamber.

        4.       As the proceedings continued in both the House and the Senate, and with Vice

President Pence present and presiding over the Senate, a large crowd gathered outside the U.S.

Capitol. As noted above, temporary and permanent barricades were in place around the exterior

of the U.S. Capitol building, and U.S. Capitol Police were present and attempting to keep the

crowd away from the Capitol building and the proceedings underway inside.

        5.       At approximately 2:00 p.m., certain individuals in the crowd forced their way

through, up, and over the barricades, and officers of the U.S. Capitol Police, and the crowd

advanced to the exterior façade of the building. The crowd was not lawfully authorized to enter

or remain in the building and, prior to entering the building, no members of the crowd submitted

to security screenings or weapons checks by U.S. Capitol Police Officers or other authorized

security officials.

        6.       At such time, the certification proceedings were still underway and the exterior

doors and windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S.

Capitol Police attempted to maintain order and keep the crowd from entering the Capitol;

however, shortly after 2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol,

including by breaking windows and by assaulting members of law enforcement, as others in the




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crowd encouraged and assisted those acts. The riot resulted in substantial damage to the U.S.

Capitol, requiring the expenditure of more than $1.4 million dollars for repairs.

       7.       Shortly thereafter, at approximately 2:20 p.m., members of the United States

House of Representatives and United States Senate, including the President of the Senate, Vice

President Pence, were instructed to—and did—evacuate the chambers. Accordingly, all

proceedings of the United States Congress, including the joint session, were effectively

suspended until shortly after 8:00 p.m. the same day. In light of the dangerous circumstances

caused by the unlawful entry to the U.S. Capitol, including the danger posed by individuals who

had entered the U.S. Capitol without any security screening or weapons check, Congressional

proceedings could not resume until after every unauthorized occupant had left the U.S. Capitol,

and the building had been confirmed secured. The proceedings resumed at approximately 8:00

p.m. after the building had been secured. Vice President Pence remained in the United States

Capitol from the time he was evacuated from the Senate Chamber until the session resumed.


                  SCIRICA’s Participation in the January 6, 2021, Capitol Riot

       8.       ANTHONY SCIRICA traveled to Washington, D.C. on January 5 to participate in

the “Stop the Steal” rally on January 6, 2021. On January 6, 2021, he left his hotel in the

morning and attended the rally as planned.

       9.       After listening to the speeches at the rally, SCIRICA, along with a group of

individuals, walked to the U.S. Capitol from the West.

       10.      As SCIRICA approached the Capitol, he saw people on the steps and on the

scaffolding outside of the Capitol. SCIRICA saw a large crowd in front of him, and he decided

to push his way to the front to see what was happening. He watched as other individuals entered

the Capitol. He decided that he want to see it for himself and see what was happening with his


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own eyes. He heard people yelling and shouting “U.S.A.” chants and “Stop the Steal.” He heard

what he believed to be a window breaking. He also heard an alarm going off inside the Capitol.

He decided to enter the Capitol any way.

       11.      SCIRICA entered the U.S. Capitol on January 6, 2021. He entered through a

Senate wing door at approximately 2:24 p.m.

       12.      While inside the Capitol, SCIRICA walked through the Rotunda at approximately

2:26 p.m., and he walked through Statuary Hall at approximately 2:27 p.m. He took photos and

videos as he proceeded through the Capitol.

       13.      While inside the Capitol, SCIRICA saw law enforcement officers inside, but he

continued to walk around inside the Capitol. He also saw a man push a law enforcement officer

while inside the Capitol.

       14.      The defendant knew at the time he/she entered the U.S. Capitol Building that that

he/she did not have permission to enter the building and the defendant paraded, demonstrated, or

picketed.




                                                     Respectfully submitted,


                                                     CHANNING D. PHILLIPS
                                                     Acting United States Attorney
                                                     D.C. Bar No. 415793


                                              By:    /s/ Amanda Fretto Lingwood
                                                     AUSA Amanda Fretto Lingwood
                                                     Assistant United States Attorney




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